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4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No. 2:15-cr-00190-GEB
8                 Plaintiff,
9        v.                               ORDER SEALING TWO-PAGE DOCUMENT
                                          PROVIDED DURING IN CAMERA
10   JOHN MICHAEL DICHIARA,               PROCEEDING
11                Defendant.
12

13             During the February 22, 2019 in camera proceeding held

14   in this case concerning a request for another appointed counsel

15   under the Criminal Justice Act, a two-page document was provided

16   to the judge, which shall be filed under seal. The Clerk of Court

17   shall file this two-page document under seal and state in the

18   Docket Text: “two-page document given to the judge during in

19   camera proceeding.”

20             Dated:    February 22, 2019

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